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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

 JOHN R. MALONE, JR., as Trustee              )
 of the Gordon L. Beeler Irrevocable          )
 Trust,                                       )
                                              )
                      Plaintiff               )
                                              )
                      v.                      )          No. 3:05cv0660 AS
                                              )
 RELIASTAR LIFE INSURANCE                     )
 COMPANY and AXA EQUITABLE                    )
 LIFE INSURANCE COMPANY,                      )
                                              )
                      Defendants              )

                        MEMORANDUM, OPINION AND ORDER

        The complaint in this case was originally filed in the St. Joseph Superior Court in

 South Bend, Indiana and removed to this court by the defendants, and in doing so invokes

 this court’s jurisdiction under 28 U.S.C. §1332. Thus, the case has now been pending in this

 court since October 18, 2005, and deserves attention as promptly as the heavy docket in this

 court permits.

        This court heard extensive oral argument from very able counsel in South Bend,

 Indiana on March 20, 2007. What was argued was a motion for summary judgment filed by

 the defendant insurance companies on January 7, 2007, as well as a response to that motion

 for summary judgment by the plaintiff and a plaintiff’s motion to strike. Also the insurance

 company defendants filed reply and response on February 27, 2007. The arguments were

 far reaching and helpful to this court.
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        Summary judgment is proper if the pleadings, depositions, answers to interrogatories

 and admissions on file, together with any affidavits, show that there exists no genuine issue

 as to any material fact and that the moving party is entitled to judgment as a matter of law.

 F ED.R.C IV.P. 56(c); Celotex Corp v. Catrett, 477 U.S. 317 (1986); Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242 (1986); Bragg v. Navistar Int’l Trans. Corp., 164 F.3d 373 (7th

 Cir. 1998). Celotex addressed the initial burdens of the parties under Rule 56, and Anderson

 addressed the standards under which the record is to be analyzed within the structure of Rule

 56.

        The initial burden is on the moving party to demonstrate, “with or without supporting

 affidavits,” the absence of a genuine issue of material fact and that judgment as a matter of

 law should be granted in the moving party’s favor. Celotex, 477 U.S. at 324 (quoting

 F ED.R.C IV.P. 56); Larimer v. Dayton Hudson Corp., 137 F.3d 497 (7th Cir. 1998). A

 question of material fact is a question which will be outcome determinative of an issue in the

 case. The Supreme Court has instructed that the facts material in a specific case shall be

 determined by the substantive law controlling the given case or issue. Anderson, 477 U.S.

 at 248. Once the moving party has met the initial burden, the opposing party must “go

 beyond the pleadings” and “designate ‘specific facts shows that there is a genuine [material]

 issue for trial.’” Id. The nonmoving party cannot rest on its pleadings, Weicherding v.

 Riegel, 160 F.3d 1139 (7th Cir. 1998); Waldridge v. American Hoechst Corp., 24 F.3d 918




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 (7th Cir. 1994); nor may that party rely upon conclusory allegations in affidavits. Smith v.

 Shawnee Library Sys., 60 F.3d 317, 320 (7th Cir. 1995).

        During its summary judgment analysis, the court must construe the facts and draw all

 reasonable inferences in the light most favorable to the nonmoving party. Bombard v. Fort

 Wayne Newspapers, Inc., 92 F.3d 560 (7th Cir. 1996). Furthermore, it is required to analyze

 summary judgment motions under the standard of proof relevant to the case or issue.

 Anderson, 477 U.S. at 252-55.        Applying the above standard, this Court addresses

 defendants’ motion.

        This court has given close attention to the origins of the common law in Indiana

 regarding the so-called seven-year presumption regarding death to be sure it is a rebuttable

 presumption. The opinion of Judge Remy 87 years ago in Equitable Life Assur. Soc. of the

 United States v. James, 73 Ind. App. 186, 127 N.E. 11 (1920) remains helpful. As indicated

 very clearly in the court proceedings on March 20, 2007, this court is very familiar with the

 circumstances in Roberts v. Wabash, 410 N.E. 2d 1377 (Ind. App. 1980), having actually

 known Clarence Roberts and his family in Brown County in the 1940's and 1950's.

        On the basis of the totality of this record and much that was said by counsel in the

 proceedings in South Bend on March 20, this court is of the firm conviction that indeed there

 is a jury question with regard to the applicability of the so-called seven-year rebuttable

 presumption. Necessarily, that proceeding under the Seventh Amendment of the Constitution

 of the United States includes the evaluation and consideration of the credibility of witnesses



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 including, but not limited to, Lisa Liegl. This court will certainly leave the decision as to her

 credibility up to a jury of eight persons selected according to law in this court and from this

 district. The issue as to the applicability of the so-called rebuttable presumption is and will

 be the centerpiece of any trial by jury that will be had in this case.

        This court does not conceive there is a jury issue on the basis of the record and

 arguments that have been made with regard to so-called bad faith or punitive damages under

 the law of Indiana. See Erie Ins. Co. v. Hickman, 322 N.E. 2d 515 (Ind. 1993). The relevant

 burden is clear and convincing evidence. This court has taken the trouble to reread the

 unanimous opinions of the Supreme Court of Indiana in Erie Ins. Very revealing language

 is found at 622 N.E. 2d 520:

               We also note that this new cause of action does not arise every
               time an insurance claim is erroneously denied. For example, a
               good faith dispute about the amount of a valid claim or about
               whether the insured has a valid claim at all will not supply the
               grounds for a recovery in tort for the breach of the obligation to
               exercise good faith. This is so even if it is ultimately determined
               that the insurer breached its contract. That insurance companies
               may, in good faith, dispute claims, has long been the rule in
               Indiana. Vernon Fire, 264 Ind. at 609-10, 349 N.E.2d at 181;
               Indiana Ins. Co. v. Plummer Power Mower (1992), Ind.App.,
               590 N.E.2d 1085, 1093; CIGNA-INA/Aetna v. Hagerman-
               Shambaugh (1985), Ind.App., 473 N.E.2d 1033, 1036; Town &
               Country Mutual Ins. Co. v. Hunter (1984), Ind.App., 472 N.E.2d
               1265, 1268; Hoosier Ins. Co. v. Mangino (1981), Ind.App., 419
               N.E.2d 978, 982; First Fed. Sav. and Loan Assoc. v. Mudgett
               (1979), Ind.App., 397 N.E. 2d 1002, 1008.

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                  As noted previously, Indiana law developed a rule which
               permitted an insured, under certain circumstances, to seek
               punitive damages in an action for the breach of an insurance
               contract. Although our holding in Best Beers prohibits such a
               recovery in a breach of contract action, the recognition of an
               independent tort for the breach of the insurer's obligation to
               exercise good faith provides the tort upon which punitive
               damages may be based. Nonetheless, just as a jury's
               determination that a claim was, in retrospect, incorrectly denied
               is not sufficient to establish a breach of the duty to exercise
               good faith, proof that a tort was committed is not sufficient to
               establish the right to punitive damages. Indiana Ins. v. Plummer,
               590 N.E.2d at 1094.

 Erie Ins. Co. at p. 520.


        This court has also taken the trouble to carefully reread Monroe Guar. Ins. Co. v.

 Magwerks Corp., 829 N.E. 2d 968, an opinion by Justice Rucker with a concurring opinion

 by Chief Justice Shepard and a dissent by Justice Sullivan. Obviously, the precedent here

 is in the majority opinion by Justice Rucker, but this court cannot gainsay and ignore the

 concurring opinion of Chief Justice Shepard or the dissent of Justice Sullivan. The record

 here is in great distinction to what was present in Monroe. So issues with regard to punitive

 damages and bad faith will not go before this jury. Summary judgment is now GRANTED

 in favor of the defendants on that issue.

        What will go before this jury for decision and determination is whether by a

 preponderance of the evidence these plaintiffs can invoke the rebuttable presumption of

 seven years as outlined in Equitable Life Assur. Soc. v. James, 127 N.E. 11 (Ind. App. 1920).

 Such is a jury question and that is the only jury question that will be presented. This court

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 will advance every reasonable effort to keep this case narrowed and constrained to the

 precise factual issue involved in that regard.

        Now that all counsel know precisely where they are going, this case is REFERRED

 to Magistrate Judge Nuechterlein for the sole and only purpose of engaging in a reasoned and

 reasonable dialogue regarding settlement. There are some first-class litigating lawyers of

 record in this case. First-class litigating lawyers also have to be realists in the best sense of

 the word. This court uses the term deep reality therapy often, and it is an appropriate one

 here for all concerned. The case will go to trial unless it is settled before a jury of eight

 persons selected according to such normal proceedings in this district before this court. The

 trial date of May 21, 2007 stands. The pretrial order shall be filed by May 1, 2007 and signed

 by all trial counsel. Mr. Konopa and his firm will be responsible for preparing the pretrial

 order. IT IS SO ORDERED.

        DATED: March 21, 2007


                                                      S/ ALLEN SHARP
                                             ALLEN SHARP, JUDGE
                                             UNITED STATES DISTRICT COURT




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